                  Case: 1:17-md-02804-DAP Doc #: 4840-1 Filed: 01/30/23 1 of 7. PageID #: 606038



                                                         Exhibit A
Defendant Name:     Masters Pharmaceutical, LLC (or Masters Pharmaceutical, Inc.) (“Masters Pharma”)


  #      Subdivision        MDL          PFS           PFS       No PFS in    No Service    No Service
           Name             Case      Uploaded     Uploaded to   Repository   of Process    of Process
                             No.          to       Repository                 Upon          Noted
                                      Repository   After Court                Masters       Upon
                                         on or     Deadline of                Pharma –      Masters
                                        Before     October 14,                Docket        Pharma
                                         Court        2022                    Sheets
                                       Deadline                               Indicate
                                      of October                              Delivery to
                                       14, 2022                               Incorrect
                                                                              Address
  1    City of             1:19-op-                                  X                          X
       Chubbuck, ID        45729
  2    City of Preston,    1:19-op-                                  X                          X
       ID                  45067
  3    Bannock             1:19-op-                                  X                          X
       County, ID          45359
  4    City of Boise, ID   1:18-op-                                  X                          X
                           46289
  5    City of             1:19-op-                                  X                          X
       Pocatello, ID       45578
  6    Twin Falls          1:19-op-                                  X                          X
       County, ID          45828
  7    City of             1:18-op-   10/13/2022                              5/30/2019
       Covington, KY       45967
  8    Benzie County,      1:18-op-                11/29/2022                 11/20/2018
       MI                  45356
  9    City of East        1:18-op-                11/29/2022                 12/19/2018
       Lansing, MI         45902
  10   County of           1:18-op-                11/29/2022                 11/20/2018
       Alcona, MI          45340
              Case: 1:17-md-02804-DAP Doc #: 4840-1 Filed: 01/30/23 2 of 7. PageID #: 606039




11   County of          1:18-op-           11/29/2022               12/19/2018
     Alpena, MI         45871
12   County of          1:18-op-           11/29/2022               11/20/2018
     Arenac, MI         45341
13   County of Cass,    1:18-op-           11/29/2022               12/19/2018
     MI                 45868
14   County of          1:18-op-           11/29/2022               12/19/2018
     Charlevoix, MI     45897
15   County of          1:18-op-           11/29/2022               2/6/2018
     Crawford, MI       45105
16   County of          1:18-op-           11/29/2022               11/20/2018
     Gratiot, MI        45339
17   County of Iron,    1:18-op-           11/29/2022               12/19/2018
     MI                 45888
18   County of          1:18-op-           11/29/2022               11/20/2018
     Isabella, MI       45349
19   County of          1:19-op-           11/29/2022               4/15/2019
     Livingston, MI     45262
20   County of          1:18-op-           11/29/2022               11/20/2018
     Montmorency,       45347
     MI
21   County of          1:18-op-           11/29/2022               12/19/2018
     Ontongon, MI       45893
22   County of          1:18-op-           11/29/2022               12/19/2018
     Presque Isle, MI   45894
23   County of          1:18-op-           11/29/2022               2/6/2018
     Roscommon, MI      45102
24   County of          1:18-op-           11/29/2022               11/20/2018
     Shiawassee, MI     45350
25   City of Iron       1:18-op-           11/29/2022               11/20/2018
     Mountain, MI       45344
26   County of Lake,    1:18-op-           11/29/2022               11/20/2018
     MI                 45366
27   City of Lansing,   1:18-op-           11/29/2022               2/6/2018
     MI                 45054


                                                        2
               Case: 1:17-md-02804-DAP Doc #: 4840-1 Filed: 01/30/23 3 of 7. PageID #: 606040




28   County of            1:18-op-          11/29/2022               2/6/2018
     Leelanau, MI         45111
29   County of Luce,      1:18-op-          11/29/2022               11/20/2018
     MI                   45362
30   County of            1:18-op-          11/29/2022               2/6/2018
     Manistee, MI         45113
31   County of            1:18-op-          11/29/2022               2/6/2018
     Marquette, MI        45104
32   County of            1:18-op-          11/29/2022               11/20/2018
     Lenawee, MI          45351
33   County of Ionia,     1:19-op-          11/29/2022               4/15/2019
     MI                   45261
34   City of Sault Ste.   1:18-op-          11/29/2022               12/19/2018
     Marie, MI            45928
35   City of Grand        1:18-op-          11/29/2022               11/20/2018
     Rapids, MI           45406
36   County of            1:18-op-          11/29/2022               11/20/2018
     Wexford, MI          45364
37   County of Iosco,     1:18-op-          11/29/2022               11/20/2018
     MI                   45343
38   County of            1:18-op-          11/29/2022               11/20/2018
     Osceola, MI          45357
39   County of            1:18-op-          11/29/2022               11/20/2018
     Sanilac, MI          45352
40   County of Grand      1:18-op-          11/29/2022               2/6/2018
     Traverse, MI         45056
41   City of Traverse     1:18-op-          11/29/2022               12/19/2018
     City, MI             45901
42   City of              1:18-op-          11/29/2022               12/19/2018
     Westland, MI         45903
43   County of            1:18-op-          11/29/2022               11/20/2018
     Dickinson, MI        45342
44   City of Jackson,     1:18-op-          11/29/2022               12/19/2018
     MI                   45904
45   County of            1:18-op-          11/29/2022               12/19/2018
     Montcalm, MI         45865

                                                         3
              Case: 1:17-md-02804-DAP Doc #: 4840-1 Filed: 01/30/23 4 of 7. PageID #: 606041




46   County of          1:18-op-           11/29/2022               2/6/2018
     Chippewa, MI       45066
47   County of          1:18-op-           11/29/2022               12/19/2018
     Ingham, MI         46178
48   County of          1:18-op-           11/29/2022               2/6/2018
     Genesee, MI        45083
49   County of          1:18-op-           11/29/2022               11/20/2018
     Ogemaw, MI         45348
50   County of          1:18-op-           11/29/2022               2/6/2018
     Macomb, MI         45085
51   County of          1:18-op-           11/29/2022               12/19/2018
     Houghton, MI       45866
52   County of Alger,   1:18-op-           11/29/2022               11/20/2018
     MI                 45360
53   County of Kent,    1:19-op-           11/29/2022               1/16/2019
     MI                 45000
54   County of          1:18-op-           11/29/2022               12/19/2018
     Berrien, MI        45887
55   County of          1:18-op-           11/29/2022               11/20/2018
     Hillsdale, MI      45355
56   County of          1:18-op-           11/29/2022               12/19/2018
     Clinton, MI        45889
57   County of St.      1:18-op-           11/29/2022               12/19/2018
     Clair, MI          45896
58   County of Delta,   1:18-op-           11/29/2022               2/6/2018
     MI                 45067
59   City of            1:18-op-           11/29/2022               2/6/2018
     Escanaba, MI       45068
60   County of          1:18-op-           11/29/2022               12/19/2018
     Washtenaw, MI      45886
61   County of          1:18-op-           11/29/2022               11/20/2018
     Antrim, MI         45354
62   County of          1:18-op-           11/29/2022               2/6/2018
     Mason, MI          45112
63   County of          1:18-op-           11/29/2022               12/19/2018
     Newaygo, MI        46187

                                                        4
              Case: 1:17-md-02804-DAP Doc #: 4840-1 Filed: 01/30/23 5 of 7. PageID #: 606042




64   County of           1:18-op-                11/29/2022           2/6/2018
     Saginaw, MI         45082
65   County of           1:18-op-                11/29/2022           12/19/2018
     Tuscola, MI         45870
66   County of           1:18-op-                11/29/2022           11/20/2018
     Baraga, MI          45361
67   City of Detroit,    1:18-op-                11/29/2022           2/6/2018
     MI                  45084
68   County of           1:18-op-                11/29/2022           11/20/2018
     Otsego, MI          45345
69   County of           1:18-op-                11/29/2022           11/20/2018
     Oceana, MI          45359
70   City of Coon        1:19-op-                                 X                  X
     Rapids, MN          45835
71   City of North St.   1:19-op-                                 X                  X
     Paul, MN            46066
72   City of Proctor,    1:19-op-                                 X                  X
     MN                  45748
73   Yellow Medicine     1:19-op-                                 X                  X
     County, MN          45358
74   City of             1:19-op-                                 X                  X
     Rochester, MN       45501
75   City of Duluth,     1:19-op-                                 X                  X
     MN                  45304
76   Pine County,        1:19-op-                                 X                  X
     MN                  45738
77   Boulder City, NV    1:19-op-                                 X                  X
                         45648
78   City of Mesquite,   1:19-op-                                 X                  X
     NV                  45649
79   Clark County,       1:19-op-   10/14/2022
     NV                  46168
80   City of             1:19-op-   10/13/2022                        7/9/2019
     Lackawanna,         45303
     NY


                                                              5
              Case: 1:17-md-02804-DAP Doc #: 4840-1 Filed: 01/30/23 6 of 7. PageID #: 606043




81   City of Hazelton,   1:19-op-   10/13/2022                                       X
     PA                  45724
82   Hanover             1:19-op-   10/13/2022                        9/17/2019
     Township, PA        45654
83   Wright              1:19-op-   10/13/2022                        8/26/2019
     Township, PA        45574
84   County of           1:19-op-   10/13/2022                        8/26/2019
     Northumberland,     45555
     PA
85   County of           1:19-op-   10/13/2022                        9/13/2019
     Lycoming, PA        45655
86   Wilkes-Barre        1:19-op-   10/13/2022                        7/16/2019
     Township, PA        45325
87   County of           1:19-op-                11/29/2022           6/25/2019
     Berkeley, SC        45436
88   City of             1:19-op-                11/29/2022           6/25/2019
     Hopewell, VA        45433
89   City of Charles     1:19-op-                                 X                  X
     Town, WV            45250
90   City of Dunbar,     1:18-op-   10/14/2022                                       X
     WV                  45546
91   City of Saint       1:18-op-   10/14/2022                                       X
     Albans, WV          45269
92   City of Smithers,   1:18-op-   10/14/2022                                       X
     WV                  45319
93   Jefferson           1:17-op-                                 X                  X
     County              45170
     Commission,
     WV
94   Marion County       1:22-op-   10/14/2022                                       X
     Board of            45028
     Education, WV
95   Morgan County       1:18-op-                                 X                  X
     Commission,         45444
     WV


                                                              6
               Case: 1:17-md-02804-DAP Doc #: 4840-1 Filed: 01/30/23 7 of 7. PageID #: 606044




96    City of             1:18-op-   10/14/2022                                       X
      Charleston, WV      45224
97    City of Logan,      1:18-op-   10/14/2022                                       X
      WV                  45317
98    Pocahontas          1:18-op-                           X                        X
      County              45443
      Commission,
      WV
99    Berkeley County     1:17-op-                           X                        X
      Council, WV         45171
100   Town of             1:18-op-   10/14/2022                                       X
      Clendenin, WV       46127
101   City of Superior,   1:19-op-                           X                        X
      WI                  45331
102   City of             1:19-op-                           X                        X
      Marinette, WI       46181




                                                     7
